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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CHINESE AMERICAN CIVIL RIGHTS

 

COALITION, INC., 21-cv-4548 (JGK)
Plaintiff, MEMORANDUM OPINION
AND ORDER
- against -

DONALD J. TRUMP,

Defendant.

 

JOHN G. KOELTL, District Judge:

The plaintiff moves for an extension of time for service of
process to September 27, 2021 and substitute service by
publication as a result of the difficulty in effectuating personal
service on the defendant.

The extension of time for service of process to September 27,
2021 is granted. However, substitute service by publication is not
warranted at this stage. As a general matter, service by

publication is disfavored. See Boddie v. Connecticut, 401 U.S.

 

371, 382 (1971) (“[P]lublication . . . is the method of notice
least calculated to bring to a potential defendant’s attention the

pendency of judicial proceedings.”); Mullane v. Cent. Hanover Bank

 

& Tr. Co., 339 U.S. 306, 315 (1950) (“It would be idle to pretend
that publication alone . . .is a reliable means of acquainting
interested parties of the fact that their rights are before the

courts.”). And the rules of the two states relevant to this

 
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action—New York and Florida!-reflect this disfavor. Under Florida
law, service by publication is only allowed in fifteen enumerated
types of cases, and this suit is not one of those types of cases,
See Fla. Stat. § 49.011. Similarly, under New York law, service by
publication is only expressly authorized in a narrow set of
actions none of which apply here. See N.Y. C.P.L.R. S§ 314 & 315.

In any event, to the extent that the defendant is sued in his
former official capacity, service must be effectuated by
delivering a copy of the summons and the complaint to the United
States attorney for this district and sending a copy to the
Attorney General of the United State at Washington, D.C. See Fed.
R. Civ. P. 4(4).

The Court also notes that service of process is intended to
provide notice of a lawsuit to a defendant so that the issues of
the case can be joined and the lawsuit decided on its merit or
lack of merit. Service is not intended to be a game for the
serving party or the party to be served. The Court is confident
that the plaintiff’s counsel and one of the defendant’s counsel
can arrange a mutually convenient means to effectuate service.

Accordingly, the motion to serve by substitute service by

publication is denied without prejudice.

 

1 Pursuant to Federal Rule of Civil Procedure 4(¢})(1}, an individual “may be
served in a judicial district of the United States by following state law for
serving a summons in an action brought in courts of general jurisdiction in the
state where the district court is located or where service is made.” Fed. R.
Civ. P. 4fe} (1).

 
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The Clerk is directed to close the motion in docket number 5.
SO ORDERED.

Dated: New York, New York
July 27, 2021

 

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John G. Koeltl
United States District Judge

 
